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                          EXHIBIT F
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 1:20-CV-24528-KING/BECERRA

  ALEXIS LOPEZ,

         Plaintiff,

  vs.

  CIBONEY, INC. and
  JOSE R. MORALES,

        Defendants.
  ______________________________/

                          PLAINTIFF’S RULE 26(a) DISCLOSURES

         Plaintiff, Alexis Lopez, discloses the following pursuant to Rule 26(a) of the Federal Rules

  of Civil Procedure, Local Rule 26.1, and the information reasonably available to them:

                        i. Individuals with Discoverable Information

         The following list of individuals known to Plaintiffs at this time that are likely to have
  discoverable information that Plaintiffs may use to support their claims or defenses, unless solely
  for impeachment, and the subjects of that information:

  1.     Alexis Lopez, Plaintiff – c/o FairLaw Firm

         Ms. Alexis Lopez has knowledge regarding his employment with Defendants, the type of
         work he performed for Defendants, his responsibilities, his hours worked, pay received
         from Defendants, cash received from Defendants, deductions from the pay he earned,
         treatment he received at work, problems with timekeeping by Defendants, and other
         issues raised by the pleadings.

  2.     Designated Representative(s), Ciboney, Inc. – c/o Quintairos, Prieto, Wood &
         Boyer, P.A.

         The 30(b)(6) representative of Ciboney, Inc., is believed to have knowledge of Plaintiff’s
         employment with Defendants, its gross annual revenues, the interstate commerce engage
         in by Defendant, the general business of Defendant, payroll records, accounting records,
         pay and payroll practices, the timekeeping by Defendant, the way that Defendant
         monitored the days and hours worked by Plaintiff, the employment and time records
                                                   1

                           135 San Lorenzo Avenue, Suite 770, Miami, FL 33146
                                  TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
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         made and kept by Defendant, the other records made and kept by Defendant relating to
         the time when Plaintiff worked and/or was subject to work for Defendant, the policies
         and procedures of Defendant as they related to payment, overtime wage payments, pay
         deductions, write-ups, and other information relevant to the issues raised by the
         pleadings.

  3.     Jose R. Morales, Defendant – c/o Quintairos, Prieto, Wood & Boyer, P.A.

         Jose R. Morales is believed to have knowledge of Plaintiff’s employment with Defendants,
         the employment and time records made and kept by Defendants, the general business of
         Defendant, the other records made and kept by Defendant relating to the time when
         Plaintiff worked and/or worked subject to work for Defendants, the policies and
         procedures of Defendants as they related to payment, overtime wage payments,
         deductions from pay, and other information relevant to the issues raised by the pleadings.

  4.     Defendants’ Employee, Juan Carlos __ - Employee of Defendants

         Juan Carlos __ is believed to have knowledge of Plaintiff’s employment with Defendants,
         the general business of Defendants, the hours worked by Plaintiff, the schedules worked
         by Plaintiff and Defendants’ other employees, Plaintiff’s pay, and the policies and
         procedures of Defendants as they related to payment, overtime wage payments,
         deductions from pay, and other information relevant to the issues raised by the pleadings.

  5.     Defendants’ Employee, Laura __ - Employee of Defendants

         Laura __ is believed to have knowledge of Plaintiff’s employment with Defendants, the
         general business of Defendants, the hours worked by Plaintiff, the schedules worked by
         Plaintiff and Defendants’ other employees, Plaintiff’s pay, and the policies and procedures
         of Defendants as they related to payment, overtime wage payments, deductions from pay,
         and other information relevant to the issues raised by the pleadings.

                        ii. Documentary and Electronic Information

          The following is a description by category and location of the documents, data
  compilations, and tangible things in Plaintiff’s possession, custody, or control that Plaintiff may
  use to support their claims or defenses, unless solely for impeachment:

                                       BATES 000001-000065

         1.      Text Messages.
         2.      Paystubs.
         3.      Worm W-2 for 2017, and
         4.      Form 1099 for 2019.



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                                iii. Damages Claimed By Plaintiff

         While Plaintiff is unable to specifically calculate damages without records that are in the
  custody or control of the Defendants, in general, Plaintiff estimates that he is owed the following
  damages:

         Unpaid Minimum Wages (Overtime) 2014 - 2020                             $ 7,478.40

         Unpaid Minimum Wages (Tip Credit) 2014 -2020                            $ 17,258.00

         Liquidated Damages:                                                     $ 24,736.40

         Total:                                                                  $ 49,472.80


         Plaintiffs also seeks his attorneys’ fees and costs, and all interested allowed by law.

  3.     Interest

         Plaintiff anticipates seeking the pre- and post-judgment interest to which he is entitled by
  law. The amount of interest is not subject to calculation at this time. The damages
  sought/claimed by Plaintiff is estimated and subject to modification pending further discovery.

  3.     Costs

        Plaintiff anticipates seeking his allowable costs upon prevailing in this litigation. This
  amount is not subject to calculation at this time.

  4.     Attorneys’ Fees

          Plaintiff anticipates seeking his attorneys’ fees as part of the damages to which he would
  be entitled upon prevailing in this litigation. This amount is not subject to calculation at this time.

                                      iv. Insuring Agreements

         None known to Plaintiff.

          v. Rule 26(b)(5)—Privileged Documents Being Withheld by Plaintiffs

  1.     Notes and memoranda prepared by Plaintiff’s counsel reflecting confidential information
  provided by Plaintiff to his counsel regarding the matters at issue in this case. Privileges asserted:
  attorney/client privilege, attorney work product.

  2.     Notes and memoranda prepared by Plaintiff’s counsel containing mental impressions,
  conclusions, opinions, or legal theories concerning this litigation. Privileges asserted:
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  attorney/client privilege, attorney work product.

  3.      Correspondence between Plaintiff’s counsel and Plaintiff regarding this case. Privileges
  asserted: attorney/client privilege, attorney work product.


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by email

  on this 30th day of July, 2021, on Reginald J. Clyne, Esq., rclyne.pleadings@qpwblaw.com,

  Reginald.clyne@qpwblaw.com, Cecilia.quevedo@qpwblaw.com, and Gcastro@qpwblaw.com,

  Quintairos, Prieto, Wood & Boyer, P.A., as Counsel for Defendants, 9300 S. Dadeland Blvd., 4th

  Floor, Florida 33156.

                                                       s/Brian Pollock, Esq.
                                                       Brian H. Pollock, Esq. (174742)
                                                       brian@fairlawattorney.com
                                                       FAIRLAW FIRM
                                                       135 San Lorenzo Avenue
                                                       Suite 770
                                                       Coral Gables, FL 33146
                                                       Tel: 305.230.4884
                                                       Counsel for Plaintiff




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                           135 San Lorenzo Avenue, Suite 770, Miami, FL 33146
                                  TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
